Case 18-66766-jwc     Doc 170    Filed 09/03/19 Entered 09/03/19 15:49:10             Desc Main
                                 Document     Page 1 of 5




    IT IS ORDERED as set forth below:



     Date: September 3, 2019
                                                    _________________________________

                                                             Jeffery W. Cavender
                                                        U.S. Bankruptcy Court Judge

    ________________________________________________________________




                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                     §       CHAPTER 11
                                           §
BEAUTIFUL BROWS LLC                        §       Case No. 18-66766-jwc
                                           §
        Debtor.                            §

    ORDER GRANTING THE MOTION BY CHAPTER 11 TRUSTEE FOR AN ORDER
    CONVERTING THE CHAPTER 11 CASE OF THE DEBTOR TO A CASE UNDER
                            CHAPTER 7

        This matter came before the Court on the Motion by Chapter 11 Trustee for an Order

Converting the Chapter 11 Case of the Debtor to a Case under Chapter 7 (the “Conversion

Motion”) (Docket No. 160)1 filed by S. Gregory Hays, Chapter 11 Trustee (the “Trustee”) for the




1
 Capitalized, but undefined, terms herein shall have the meaning ascribed to such terms in the
Application.

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Case 18-66766-jwc       Doc 170     Filed 09/03/19 Entered 09/03/19 15:49:10             Desc Main
                                    Document     Page 2 of 5


bankruptcy estate of Beautiful Brows, LLC, Debtor (the “Debtor”) in the above captioned case

(the “Case”) seeking the entry of an order (this "Order") converting this Case to a case under

Chapter 7 of the Bankruptcy Court. This matter having come for hearing before this Court on

August 29, 2019 (the “Hearing”), the Court having reviewed and considered the Motion and

argument of counsel and statements of parties at the Hearing and having found that due and

adequate notice of the Conversion Motion and the Hearing was provided under the circumstances

of this Case, and that good cause exists for the conversion of this Chapter 11 Case to a case under

Chapter 7 of the Bankruptcy Code, it is

       ORDERED that the Conversion Motion is GRANTED; and it is

       FURTHER ORDERED, that this Case is hereby converted to a Case under Chapter 7 of

the Bankruptcy Code effective August 30, 2019; and it is

       FURTHER ORDERED, that the United States Trustee is directed to appoint a Chapter 7

Trustee for the Debtor; and it is

       FURTHER ORDERED, that

       1) the debtor and its officers and agents shall, forthwith, turn over to the chapter 7 trustee

all records and property of the estate in their possession or control and shall immediately turnover

any other property of the estate which hereinafter comes into their possession or control during the

pendency of this case; and

       2) the debtor shall cooperate and assist the chapter 7 trustee in identifying, assembling,

and collecting property of the estate and shall provide the trustee will all documents pertaining to




                                                 2
Case 18-66766-jwc       Doc 170      Filed 09/03/19 Entered 09/03/19 15:49:10             Desc Main
                                     Document     Page 3 of 5




assets of the estate as the trustee requests; and

       3) not later than 14 days after entry of this Order, the debtor shall file a schedule of unpaid

debts incurred after the filing of the petition and before conversion of the case, including the name

and address of each holder of a claim and serve a copy of the schedule on the trustee and the United

States Trustee; and

       4) not later than 28 days after entry of this Order, the debtor shall file and transmit to the

trustee and the United States Trustee a final report and account regarding the status and disposition

of all assets of the estate, including proceeds of assets of the estate; and

       5) not later than 28 days after entry of this Order, the debtor shall file and transmit to the

United States Trustee monthly operating reports for each month or period through the date of

conversion for which reports have not already been filed; and

       6) not later than 28 days after entry of this Order, or by such date as may be subsequently

set by the Court for the filing of administrative expense claims arising in the Chapter 11 Case, all

professionals employed by the debtor shall file an application for final approval of fees and

expenses incurred in or in connection with administration of the case under chapter 11 or,

alternatively, turn over to the appointed chapter 7 trustee any and all retainers, monies, or other




                                                    3
Case 18-66766-jwc       Doc 170    Filed 09/03/19 Entered 09/03/19 15:49:10         Desc Main
                                   Document     Page 4 of 5




remuneration received from the debtor prior to or after the filing of the petition for services

rendered in or in connection with the chapter 11 case.

                              ***END OF DOCUMENT***

Prepared and Presented by:

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Reviewed by:
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                                                4
Case 18-66766-jwc     Doc 170    Filed 09/03/19 Entered 09/03/19 15:49:10   Desc Main
                                 Document     Page 5 of 5


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